 1 Hugh McCullough, WSBA No. 41453
   Jordan Clark, WSBA No. 49659
 2 Davis Wright Tremaine LLP
 3 920 Fifth Avenue, Suite 3300
   Seattle, Washington 98104-1610
 4 206-622-3150

 5
 6                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF WASHINGTON
 7

 8
   RED LION HOTELS
 9 FRANCHISING, INC.,
                                                 No. 2:18-cv-00131
10                       Plaintiff,
                                                 MOTION OF RED LION TO
11        v.                                     CONFIRM ARBITRATION
                                                 AWARD
12 CENTURY-OMAHA LAND, LLC, et al.,
                                                 Noting Date: June 21, 2019
13                       Defendants.             Without Oral Argument
14
15                              I.     INTRODUCTION
16        Red Lion seeks an order confirming the arbitration award (the “Award”)

17 issued and signed by Arbitrator Thomas McPhee on May 31, 2019 pursuant to the
18 Federal Arbitration Act (“FAA”), 9 U.S.C. § 9. Because the order confirming the
19 Award will resolve all remaining claims against all remaining parties, Red Lion also

20 seeks the entry of judgment pursuant to 9 U.S.C. § 13.
21                                     II.   FACTS

22        On September 14, 2018, Red Lion commenced an arbitration with JAMS,

23 styled Red Lion Hotels Franchising, Inc. v. Leslie, Case No. 1160022604.
                                                                           Davis Wright Tremaine LLP
     MOTION TO CONFIRM ARBITRATION AWARD - 1                                        L AW O FFICE S
     Case No. 2:18-cv-00131                                                   920 Fifth Avenue, Suite 3300
                                                                                  Seattle, WA 98104
                                                                         206.622.3150 main · 206.757.7700 fax
 1 Declaration of Hugh McCullough ¶ 2, Ex. A. In its demand, Red Lion asserted

 2 claims against Leslie for breach of his personal guarantees of a Franchise License
 3 Agreement and a Hotel Improvement Financing and Security Agreement (the
 4 “Financing Agreement”). Id.

 5       JAMS appointed Judge Thomas McPhee as arbitrator in November 2018. See

 6 McCullough Decl. ¶ 3. After reviewing the parties’ briefs, Judge McPhee issued the
 7 Award in Red Lion’s favor on May 31, 2019. See id. ¶ 4, Ex. B. The Award granted

 8 Red Lion the following relief:
 9       (a)    $470,343.32 for breach of the Franchise License Agreement;

10       (b)    $1,825,000 in liquidated damages for breach of the Franchise License

11              Agreement;

12       (c)    $269,874.82 for breach of the Financing Agreement;

13       (d)    $162,961.37 in pre-award interest on the principal balance under the

14              Franchise License Agreement calculated to May 31, 2019;

15       (e)    $74,647.10 in pre-award interest on the principal balance under the

16              Financing Agreement calculated to May 31, 2019;

17       (f)    Post-award interest on $470,343.32, or any remaining principal balance

18              under the Franchise License Agreement, at the rate of 18 percent per

19              year from June 1, 2019;

20       (g)    Post-award interest on $1,825,000 in liquidated damages for breach of

21              the Franchise License Agreement at 12 percent per year from June 1,

22              2019;

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 1        (h)    Post-award interest on $269,874.82, or any remaining principal balance

 2               under the Financing Agreement at the rate of 18 percent per year from

 3               June 1, 2019;

 4        (i)    $102,958.00 in attorney fees, plus interest at the statutory rate of 12

 5               percent per year from June 1, 2019;

 6        (j)    $10,837.21 in costs, plus interest at the statutory rate of 12 percent per

 7               year from June 1, 2019; and

 8        (k)    $9,339.58 for the cost of the arbitration administrative fee and the

 9               arbitrator’s compensation, plus interest at the statutory rate of 12

10               percent per year from June 1, 2019.

11 Id. In total, the Award granted Red Lion $2,925,961.40 in damages, pre-award
12 interest, costs, and attorney fees. Id. The total post-award interest rates awarded
13 were (1) 18 percent per year from June 1, 2019 on the unpaid balance owing under

14 paragraphs (a) and (c) of this motion; (2) 12 percent per year from June 1, 2019 on
15 the unpaid balancing owing under paragraph (b) of this motion; and (3) 12 percent
16 per year from June 1, 2019 on the unpaid balance owing under paragraphs (i), (j),

17 and (k) of this motion.
18        The Award has not been vacated under 9 U.S.C. § 10 or modified or

19 corrected under 9 U.S.C. § 11. Id. ¶ 5. Pursuant to 9 U.S.C. § 9, Red Lion filed this

20 motion within one year after the arbitrator issued the Award.
21                                  III.   ARGUMENT

22        The FAA authorizes a party to an arbitration agreement to apply for an order

23 confirming the arbitration award “any time within one year after the award.” 9
                                                                               Davis Wright Tremaine LLP
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 1 U.S.C. § 9. “[T]he court must grant such an order unless the award is vacated,

 2 modified, or corrected as prescribed in section 10 and 11 of this title.” Id. (emphasis
 3 added). The Ninth Circuit has held that the Court should confirm an arbitration
 4 award without reexamining the factual and legal reasoning of the arbitrator because

 5 “confirmation is required even in the face of ‘erroneous findings of fact or
 6 misinterpretations of law’. . . [and even if] the Panel may have failed to understand
 7 or apply the law.” French v. Merrill Lynch, Pierce, Fenner & Smith, Inc., 784 F.2d

 8 902, 906 (9th Cir. 1986) (citations omitted).
 9        Leslie has not sought to vacate, modify, or challenge the Award, so the

10 limited statutory ground under sections 10 and 11 of the FAA are not present. Red

11 Lion is therefore entitled to confirmation of the Award, along with entry of
12 judgment in conformity with the Award.
13                                IV.    CONCLUSION

14        For the foregoing reasons, Red Lion respectfully requests that the Court

15 confirm the Award and enter judgment in conformity with the Award.
16        DATED this 13th day of June, 2019.
17
                                           Davis Wright Tremaine LLP
18                                         Attorneys for Red Lion Hotels
                                           Franchising, Inc.
19

20                                         By /s/ Hugh McCullough
                                                Hugh McCullough, WSBA No. 41453
21
                                                Jordan Clark, WSBA No. 49659
22                                         920 Fifth Avenue, Suite 3300
                                           Seattle, Washington 98104
23                                         (206) 757-8189
                                                                             Davis Wright Tremaine LLP
     MOTION TO CONFIRM ARBITRATION AWARD - 4                                          L AW O FFICE S
     Case No. 2:18-cv-00131                                                     920 Fifth Avenue, Suite 3300
                                                                                    Seattle, WA 98104
                                                                           206.622.3150 main · 206.757.7700 fax
 1                              CERTIFICATE OF SERVICE

 2         I certify that on the date of this certificate, I caused the foregoing document

 3   to be filed with the Clerk of the Court using the CM/ECF system, and a copy to be
 4   mailed by United States Postal Service to the following addresses:
 5
           Century-Omaha Land, LLC
 6         c/o Don Wieseler, Registered Agent
           909 St. Joseph Street, Suite 1000
 7         Rapid City, SD 57701-3301
 8         Edwin W. Leslie
 9         1402 South 13th Street, 1st Floor
           Omaha, Nebraska 68124
10
     I also certify that on the date of this certificate, I e-mailed the foregoing document
11
     to Kelly Peterson, in-house counsel to Century-Omaha Land, LLC, at
12
13   Kelly.peterson@centuryco.net and to Edwin Leslie at eleslie@leslie-

14   hospitality.com.

15
           DATED this 13th day of June, 2019.
16

17                                           /s/ Hugh McCullough
                                                  Hugh McCullough
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21
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23
     MOTION TO CONFIRM ARBITRATION AWARD - 5                                    Davis Wright Tremaine LLP
     Case No. 2:18-cv-00131                                                              L AW O FFICE S
                                                                                   920 Fifth Avenue, Suite 3300
                                                                                       Seattle, WA 98104
                                                                              206.622.3150 main · 206.757.7700 fax
